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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA     :
                             :
         v.                  :                      Case No. 21-cr-116 (DLF)
                             :
WILLIAM MCCALL CALHOUN, JR., :
                             :
             Defendant.      :


                 UNITED STATES’ MOTION TO DISMISS COMPLAINT

        Following the defendant’s conviction all counts charged in the Superseding Indictment on

March 21, 2023 and the sentence imposed on this matter on August 4, 2023, the United States of

America hereby moves to dismiss the Complaint filed on January 21, 2021 (ECF 1) in the interests

of justice.

        Dated: August 18, 2023

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney

                                     By:    _/s/Christopher Brunwin_______________
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